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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   NOA E. OREN, # 297100
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, CA 95814
     Telephone: (916) 498-5700
 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     SHELLBY L. MOORE
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   Case No. 2:16-cr-00147-MCE
                                                )
12                      Plaintiff,              )   AMENDED NOTICE OF EXCLUSION OF
                                                )   TIME AND ORDER TO EXCLUDE TIME
13   vs.                                        )
                                                )
14   LICHNOCK-GEMBE et al.,                     )   Date: December 15, 2016
                                                )   Time: 10:00 a.m.
15                     Defendant.               )   Judge: Hon. Morrison C. England, Jr.
                                                )
16                                              )

17          PLEASE TAKE NOTICE that on November 21, 2016, the Court, by its own motion,
18   vacated and continued the December 7, 2016 status conference to December 15, 2016 at 10:00
19   a.m.
20          Based upon the foregoing, Assistant U.S. Attorney, Michelle Rodriguez, attorney for

21   Plaintiff, and Defendant Shellby L. Moore, by and through her attorney of record, Assistant

22   Federal Defender Noa E. Oren, agree time under the Speedy Trial Act should be excluded from
23   December 7, 2016 through and including December 15, 2016, pursuant to 18 U.S.C. § 3161
24   (h)(7)(A) and (B(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
25   upon continuity of counsel and defense preparation. The Court finds that the ends of justice
26   served by granting defendant’s request for a continuance outweigh the best interest of the public

27   and defendant in a speedy trial. Time has previously been excluded through December 7, 2016.

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      Notice of Exclusion of Time                    -1-                    U.S. v. Moore, 16-cr-147-MCE
      Case 2:16-cr-00147-DAD Document 50 Filed 12/05/16 Page 2 of 3


 1                                     Respectfully submitted,

 2
                                       HEATHER E. WILLIAMS
 3                                     Federal Defender

 4
     Date: November 29, 2016           /s/ Noa E. Oren
 5                                     NOA E. OREN
                                       Assistant Federal Defender
 6                                     Attorneys for Defendant
                                       SHELLBY L. MOORE
 7
 8                                     PHILLIP A. TALBERT
                                       Acting United States Attorney
 9
10   Date: November 29, 2016           /s/ Michelle Rodriguez
                                       MICHELLE RODRIGUEZ
11                                     Assistant United States Attorney
                                       Attorneys for Plaintiff
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      Notice of Exclusion of Time        -2-                     U.S. v. Moore, 16-cr-147-MCE
       Case 2:16-cr-00147-DAD Document 50 Filed 12/05/16 Page 3 of 3


 1                                                 ORDER

 2           The Court orders the time from December 7, 2016, up to and including December 15,

 3   2016, shall be excluded from computation of time within which the trial of this case must be

 4   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161 (h)(7)(A) and

 5   (B(iv)[reasonable time to prepare] and General Order 479, Local Code T4. The Court also finds

 6   that the ends of justice served by granting defendant’s request for a continuance outweigh the

 7   best interest of the public and defendant in a speedy trial.

 8           IT IS SO ORDERED.

 9   Dated: December 2, 2016
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       Notice of Exclusion of Time                    -3-                   U.S. v. Moore, 16-cr-147-MCE
